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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

 IN RE:                                                               CASE NO.: 3:19-bk-01961-JAF
                                                                                      CHAPTER 7
 Renni J Campo,
          Debtor,
 _________________________________/

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

                                  NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING

           Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
           paper without further notice or hearing unless a party in interest files a response
           within twenty one (21) days from the date set forth on the attached proof of service,
           plus an additional three days for service if any party was served by U.S. Mail.

           If you object to the relief requested in this paper, you must file a response with the
           Clerk of the Court at Bryan Simpson United States Courthouse, 300 N. Hogan
           Street, Suite 3-150, Jacksonville, Florida 32202-4267and serve a copy on the
           movant’s attorney, Attorney for Secured Creditor, at Robertson, Anschutz &
           Schneid, PL, 6409 Congress Ave., Suite 100, Boca Raton, FL 33487, and any other
           appropriate persons within the time allowed. If you file and serve a response within
           the time permitted, the Court will either schedule and notify you of a hearing, or
           consider the response and grant or deny the relief requested without a hearing.

           If you do not file a response within the time permitted, the Court will consider that
           you do not oppose the relief requested in the paper, will proceed to consider the
           paper without further notice or hearing, and may grant the relief requested.

       Secured Creditor, U.S. Bank National Association, not in its individual capacity but

solely as Trustee for the NRZ Pass-Through Trust VIII-B, by and through the undersigned

counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification of the

automatic stay provisions for cause, and, in support thereof, states the following:

   1. Debtor(s), Renni J Campo, filed a voluntary petition pursuant to Chapter 7 of the United

       States Bankruptcy Code on May 24, 2019.


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2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. §

   1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

   Secured Creditor filed a foreclosure complaint against the Debtor(s) in the Supreme Court

   of the State of New York for Nassau County, Case Number: 16-028678-MeK, due to the

   default under the terms of the Note and Mortgage as it pertains to the property located at

   1314 Bellmore Avenue Bellmore, New York 11710.

4. A Final Judgment of Foreclosure (“Judgment”) was entered against the Debtor(s) on

   March 6, 2019 in the amount of $808,941.95. A true and accurate copy of the Judgment

   attached hereto as Exhibit “A.” The Judgment has not been satisfied by the Debtor(s).

5. The appraised value of the property is $345,200.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

6. Based upon the Debtor(s)’ schedules, the property is claimed as exempt. The Trustee has

   not abandoned the property.

7. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position



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       and no other form of adequate protection is provided.

   8. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

       provided with adequate protection, it will suffer irreparable injury, loss, and damage.

   9. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

       this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

       adequate protection to Secured Creditor for its interest in the above stated collateral. The

       value of the collateral is insufficient in and of itself to provide adequate protection which

       the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

       additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

       Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

       Debtor’s assets.

   10. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

       incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving

       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   11. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain



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possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: June 19, 2019

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-241-1969
                                             By: /s/ Christopher P. Salamone
                                             Christopher P. Salamone, Esquire
                                             Florida Bar Number 75951
                                             Email: csalamone@rasflaw.com




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 19, 2019, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Renni J Campo
7465 NW 44th Lane
Ocala, FL 34482

Gregory L. Atwater
P.O. Box 1865
Orange Park, FL 32067

United States Trustee - JAX 13/7
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801

                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-241-1969
                                           By: /s/ Christopher P. Salamone
                                           Christopher P. Salamone, Esquire
                                           Florida Bar Number 75951
                                           Email: csalamone@rasflaw.com




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                   EXHIBIT “B”
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

 IN RE:                                                           CASE NO.: 3:19-bk-01961-JAF
                                                                                  CHAPTER 7
 Renni J Campo,
          Debtor,
 _________________________________/

              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

        THIS CASE came on consideration without a hearing on U.S. Bank National
Association, not in its individual capacity but solely as Trustee for the NRZ Pass-Through Trust
VIII-B’s (“Secured Creditor”) Motion for Relief from Stay (Docket No. ##). No appropriate
response has been filed in accordance with Local Rule 2002-4. Accordingly, it is:

       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
       interest in the following property located at 1314 Bellmore Avenue Bellmore, New York
       11710 in Nassau County, New York, and legally described as:

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3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
   Creditor to exercise any and all in rem remedies against the property described above.
   Secured Creditor shall not seek an in personam judgment against Debtor(s).


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   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
                                              ###
Attorney, <ASSIGNED CASELOAD ATTORNEY NAME>, is directed to serve a copy of this
order on interested parties and file a proof of service within 3 days of entry of the order.




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